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     Caption in Compliance with D.N.J. LBR 9004-1(b)
         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY
                                                                                  Order Filed on November 26, 2024
         In re:                                                                   by Clerk
                                                                                  U.S. Bankruptcy Court
         BLOCKFI INC., et al.,                                                    District of New Jersey

                                          Debtors’. 1
                                                                      Chapter 11
                                                                      Case No. 22-19361 (Jointly Administered)
                                                                      Judge: Michael B. Kaplan



        ORDER GRANTING IN PART AND DENYING IN PART THE WIND-DOWN
       DEBTORS’ MOTION FOR ENTRY OF AN ORDER TO SHOW CAUSE ON WHY
     GEORGE GERRO SHOULD NOT BE FOUND IN CONTEMPT AND FOR SANCTIONS
       AND IN THE ALTERNATIVE, MOTION TO ENFORCE THE CONFIRMATION
                                  ORDER


     The relief set forth on the following pages is ORDERED.




DATED: November 26, 2024

     1
       The Wind-Down Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
     identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC (5017);
     BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment
     Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-
     Down Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019.
Case 22-19361-MBK        Doc 2456       Filed 11/26/24 Entered 11/26/24 14:13:38             Desc Main
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 Debtor (s):           BLOCKFI INC., et al.,

 Case No.              22-19361 (Jointly Administered)
 Caption of Order:     Order Granting In Part and Denying In Part The Wind-Down Debtors’
                       Motion for Entry Of An Order To Show Cause On Why George Gerro
                       Should Not Be Found In Contempt And For Sanctions And In the
                       Alternative, Motion To Enforce The Confirmation Order

        This matter comes before the Court on a Motion for Entry of an Order to Show Cause Why

 George Gerro Should Not Be Found in Contempt and for Sanctions and in the Alternative, Motion

 to Enforce the Confirmation Order (“Motion”, ECF No. 2412) filed by the Wind-Down Debtor,

 BlockFi Inc., et al., (“Wind-Down Debtor”). George Gerro responds ultimately opposing the

 Motion (ECF No. 2421). The Court has read all the submissions and has considered the arguments

 made during the hearing on November 7, 2024. For the reasons set forth on the record in the

 November 7, 2024, hearing, the Wind-Down Debtor’s Motion for Entry of an Order to Show Cause

 Why George Gerro Should Not Be Found in Contempt and for Sanctions and in the Alternative,

 Motion to Enforce the Confirmation Order is Granted in Part and Denied in Part.

        IT IS HEREBY ORDERED THAT:

    1. The Motion is GRANTED IN PART and DENIED IN PART.

    2. George J. Gerro shall dismiss Case No. 20BBCV00308 and Case No. 20STCV31493

        pending in the Superior Court of the State of California, County of Los Angeles, Burbank

        Courthouse (the “Prepetition Litigation”) without prejudice or, alternatively, the parties

        shall negotiate and enter into a stipulation regarding the Prepetition Litigation that resolves

        the Motion in its entirety.

    3. This Court retains exclusive jurisdiction with respect to all matters arising from or related

        to the interpretation or enforcement of this Order.
